                                     Case 22-10293                 Doc 9         Filed 06/11/22              Page 1 of 2
                                                              United States Bankruptcy Court
                                                              Middle District of North Carolina
In re:                                                                                                                 Case No. 22-10293-bak
Mya Deionshai Corbett                                                                                                  Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0418-2                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Jun 09, 2022                                               Form ID: 259                                                               Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 11, 2022:
Recip ID                 Recipient Name and Address
db                     + Mya Deionshai Corbett, 1183 University Dr, #105227, Burlington, NC 27215-8303

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: bancm_ecf@ncmba.uscourts.gov
                                                                                        Jun 09 2022 17:57:00      William P. Miller, Bankruptcy Administrator, 101
                                                                                                                  South Edgeworth Street, Greensboro, NC
                                                                                                                  27401-6024

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 11, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 9, 2022 at the address(es) listed below:
Name                               Email Address
Anita Jo Kinlaw Troxler,
                                   office@chapter13gboro.com office5@chapter13gboro.com


TOTAL: 1
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Form 259

                                UNITED STATES BANKRUPTCY COURT
                                           Middle District of North Carolina
                                                101 S. Edgeworth Street
                                                Greensboro, NC 27401

                                                                               Bankruptcy Case No.: 22−10293
IN THE MATTER OF:
Mya Deionshai Corbett   xxx−xx−3117
1183 University Dr
#105227
Burlington, NC 27215

   Debtor(s)

                        ORDER FOR PAYMENT OF FILING FEE IN INSTALLMENTS

       IT APPEARING THAT the debtor(s) filed an application for permission to pay the filing fee in this case in
installments; that the filing fee for Chapter 13 is $313 ; that the debtor(s) has paid $ 0.00 of this amount, leaving a
balance due to be paid in the amount of $ 313.00 ; and after consideration of the application by the Court and for
sufficient reasons appearing,
       IT IS ORDERED that the debtor(s) pay the balance of the filing fee to the Office of the Clerk in the amount
of $ 313.00 , as follows:

$ 100.00 on or before 7/8/22 ; and

$ 100.00 on or before 8/8/22 ; and

$ 113.00 on or before 9/8/22

Payments made by mail must be directed to the Court in Greensboro at the address listed below,
in the form of cashier's check or money order, made payable to "Clerk, U.S. Bankruptcy Court."

United States Bankruptcy Court
Middle District of North Carolina
PO Box 26100
Greensboro, NC 27402

        IT IS FURTHER ORDERED that failure by the debtor(s) to pay the fee as provided in this order may result
in the dismissal of this case with a 180−day bar to re−filing pursuant to § 109 (g) (1) of the Bankruptcy Code;

       IT IS FURTHER ORDERED that if any installment payment required under this order is not paid by the
date on which the installment was due, this case shall be calendared for a dismissal hearing at which the Debtor(s)
shall be required to show cause why this case should not be dismissed.




Dated: 6/9/22
